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                            UNITED STATES DISTRICT COURT
 1
                         FOR THE NORTHERN DISTRICT OF TEXAS
 2
     TONY GROUNDS,                                 §
 3
                                                   §
 4                    Plaintiff,                   §       Civil Action No.
                                                   §
 5                     v.                          §
 6
                                                   §       Jury Trial Demanded
     BLUESTEM BRANDS                               §
 7   D/B/A FINGERHUT,                              §
                                                   §
 8
                      Defendant.                   §
 9

10
                                             COMPLAINT
11
             TONY GROUNDS (“Plaintiff”), by and through his attorneys, KIMMEL &
12
     SILVERMAN, P.C., alleges the following against BLUESTEM BRANDS D/B/A FINGERHUT
13
     (“Defendant”):
14

15
                                           INTRODUCTION

16           1.       Plaintiff’s Complaint is based on the Telephone Consumer Protection Act

17   (“TCPA”), 47 U.S.C. § 227 et seq.
18
                                    JURISDICTION AND VENUE
19
             2.       Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331. See Mims v.
20
     Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
21

22           3.       Defendant conducts business in the State of Texas and as such, personal

23   jurisdiction is established.

24           4.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
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                                                 PARTIES
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 2           5.     Plaintiff is a natural person residing in Dallas, Texas 75211.

 3           6.     Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).

 4           7.     Defendant is a corporation that has its mailing address located at 7075 Flying
 5   Cloud Drive, Eden Prairie, Minnesota 55344.
 6
             8.     Defendant is a “person” as that term is defined by 47 U.S.C. §153(39).
 7
             9.     Defendant acted through its agents, employees, officers, members, directors,
 8
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
 9
                                     FACTUAL ALLEGATIONS
10

11
             10.    Plaintiff has a cellular telephone that he has had for at least two years.

12           11.    Plaintiff has only used this phone as a cellular telephone.

13           12.    Beginning in or around summer 2015 and continuing through in or about March

14   2016, Defendant called Plaintiff on a repeated basis on his cellular telephone.

15           13.    Defendant called Plaintiff using an automatic telephone dialing system and
16
     automatic and/or pre-recorded messages.
17
             14.    Plaintiff knew that Defendant was calling him using an automated telephone
18
     dialing system as he would routinely encounter a noticeable delay or pause prior to speaking to
19
     one of Defendant’s callers.
20
             15.    Defendant’s telephone calls were not made for “emergency purposes.”
21
             16.    Desiring to stop Defendant’s incessant calling, Plaintiff spoke to Defendant
22
     shortly after calls commenced in or around summer 2015 and insisted that Defendant stop calling
23

24   him.

25



                                                       2

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            17.       This was Plaintiff’s method of revoking any prior express consent for Defendant
 1
     to call him on his cellular telephone.
 2

 3          18.       Defendant heard and acknowledged this request to stop calling by becoming

 4   agitated and abrasive in response to Plaintiff’s simple instruction.

 5          19.       Once Defendant was informed that its calls were unwanted and to stop calling, all

 6   further calls could only have been made solely for the purposes of harassment.
 7          20.       Defendant proceeded to ignore Plaintiff’s revocation as well as repeated
 8
     instructions to stop calling his cellular telephone and continued to call him excessively through
 9
     in or around March 2016.
10
            21.       Exasperated and frustrated by Defendant’s steady barrage of calls, Plaintiff
11
     downloaded a blocking application onto his cellular telephone in order to stop Defendant’s
12
     unwanted calls.
13
            22.       Upon information and belief, Defendant conducts business in a manner which
14
     violates the Telephone Consumer Protection Act.
15

16

17                                   COUNT I
                              DEFENDANT VIOLATED THE
18
                        TELEPHONE CONSUMER PROTECTION ACT
19
            23.       Plaintiff incorporates the forgoing paragraphs as though the same were set forth at
20
     length herein.
21
            24.       Defendant initiated automated calls to Plaintiff using an automatic telephone
22
     dialing system and automatic and/or pre-recorded messages.
23
            25.       Defendant’s calls to Plaintiff were not made for “emergency purposes.”
24

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                                                       3

                                          PLAINTIFF’S COMPLAINT
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            26.     Defendant’s calls to Plaintiff, on and after summer 2015, were not made with
 1
     Plaintiff’s prior express consent.
 2

 3          27.     Defendant’s acts as described above were done with malicious, intentional,

 4   willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the

 5   purpose of harassing Plaintiff.

 6          28.     The acts and/or omissions of Defendant were done unfairly, unlawfully,
 7   intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal defense,
 8
     legal justification or legal excuse.
 9
            29.     As a result of the above violations of the TCPA, Plaintiff has suffered the losses
10
     and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles
11
     damages.
12
                                          PRAYER FOR RELIEF
13

14           WHEREFORE, Plaintiff, TONY GROUNDS, respectfully prays for a judgment as

15   follows:

16                   a.      All actual damages suffered pursuant to 47 U.S.C. § 227(b)(3)(A);

17                   b.      Statutory damages of $500.00 per violative telephone call pursuant to 47
18
                             U.S.C. § 227(b)(3)(B);
19
                     c.      Treble damages of $1,500.00 per violative telephone call pursuant to 47
20
                             U.S.C. §227(b)(3);
21
                     d.      Injunctive relief pursuant to 47 U.S.C. § 227(b)(3);
22
                     e.      Any other relief deemed appropriate by this Honorable Court.
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                                                       4

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                                   DEMAND FOR JURY TRIAL
 1
              PLEASE TAKE NOTICE that Plaintiff, TONY GROUNDS, demands a jury trial in this
 2

 3   case.

 4

 5                                           RESPECTFULLY SUBMITTED,

 6
                                             KIMMEL & SILVERMAN, P.C.
 7

 8                                           By: /s/ Amy L. Bennecoff Ginsburg
       DATED: 11/21/18                       Amy L. Bennecoff Ginsburg, Esq.
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                                      PLAINTIFF’S COMPLAINT
